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 for Debtors and Debtors-in-Possession

                     UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF NEVADA


 In re:                                                                                        Chapter 11 Case Number
      X-TREME BULLETS, INC.,                                                                   Jointly Administered under
                                                                                               Case No. 18-50609-btb with
      AMMO LOAD WORLDWIDE, INC.,
                                                                                               Case Nos. 18-50610-btb; 18-50611-btb;
      CLEARWATER BULLET, INC.,
                                                                                               18-50613-btb; 18-50614-btb; 18-50615-btb;
      FREEDOM MUNITIONS, LLC,                                                                  18-50616-btb; and 18-50617-btb
      HOWELL MACHINE, INC.,
                                                                                               Professional Fee Statement
      HOWELL MUNITIONS & TECHNOLOGY, INC.,
                                                                                               Number: 6
      LEWIS-CLARK AMMUNITION COMPONENTS, LLC,
                                                                                               Month of: November 2018
      COMPONENTS EXCHANGE, LLC, and
      All Debtors.
                                                   Debtors and
                                                   Debtors-in-Possession.


1. Name of Professional:                                                              Winthrop Couchot Golubow Hollander, LLP (“WCGH”)
2. Date of entry of order approving employment of the professional:                   August 6, 2018
3. Total amount of pre-petition payments received by the professional:                $150,000.001
4. Less: Total amount of pre-petition services rendered and expenses:                 $108,160.00
5. Balance of funds remaining on date of filing of petition:                          $41,840.00
6. Total amount of all services rendered per prior fee statements:                    $581,147.33
7. Total amount of payments received by the professional for post-petition services   $277,227.29
   rendered by the professional:
8. Total amount of services and expenses this reporting period:                       $78,147.252

9. Amount authorized to be paid from the HMT Debtors’ estates:                        $62,624.953


1 WCGH received a total $150,000 pre-petition retainer for these Debtors and for Components Exchange, LLC. As disclosed in the WCGH

Employment Application, WCGH’s pre-petition retainer was paid by David C. Howell, an insider of the Debtors, and not by any of the Debtors.
2 This amount consists of $77,611.50 in fees and $535.75 in costs. WCGH has agreed to “no charge” fifty percent (50%) of all fees associated with

travel from WCGH’s office to Court hearings. There were no fees for travel time charged during the applicable time period.
3 On August 6, 2018, the Court entered its Interim Order (1) Authorizing Use of Cash Collateral Pursuant to Section 363 of the Bankruptcy Code, (2)

Granting Adequate Protection Pursuant to Sections 361, 362, and 363 of the Bankruptcy Code, (3) Granting Liens, and (4) Scheduling a Final
Hearing on the Debtors’ Cash Collateral Motion (“Interim Cash Collateral Order”) [Docket No. 129] authorizing the Debtors’ use of cash collateral
to pay, through August 30, 2018, not more than $142,500 to WCGH for fees and costs of WCGH for services rendered and to be rendered on behalf
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10. Total amount to be paid from the HMT Debtors’ estates for this reporting period: $62,624.95

DETAILED DOCUMENTATION SUPPORTING THE FEES EARNED AND THE EXPENSES INCURRED BY WCGH DURING
THIS REPORTING PERIOD HAS BEEN SERVED ON THE UNITED STATES TRUSTEE, THE HMT DEBTORS, COUNSEL
FOR THE CREDITORS’ COMMITTEE, AND ANY CREDITORS REQUESTING SPECIAL NOTICE IN THESE CASES. A
COPY OF THE DETAILED DOCUMENTATION WILL BE PROVIDED BY WCGH TO ANY OTHER PARTY UPON WRITTEN
REQUEST. FEES AND COSTS WILL BE PAID FROM PROPERTY OF THE HMT DEBTORS’ ESTATES IN THE AMOUNT
STATED IN ITEM 9 ABOVE UNLESS AN OBJECTION IS FILED WITH THE CLERK OF THE COURT AND SERVED UPON
WCGH WITHIN 10 DAYS FROM THE DATE OF SERVICE OF THIS STATEMENT.

11. Total number of pages attached hereto:                                            27

The above is a true and correct statement of fees earned and expenses incurred during the indicated reporting period.
  Dated: March 8, 2019                                             WINTHROP COUCHOT
                                                                   GOLUBOW HOLLANDER, LLP
                                                                   /s/ Robert E. Opera
                                                                   Robert E. Opera
                                                                   General Insolvency Counsel for Debtors and Debtors-in-Possession




of Debtors X-Treme Bullets, Inc., Ammo Load Worldwide, Inc., Clearwater Bullet, Inc., Freedom Munitions, LLC, Howell Machine, Inc., Howell
Munitions & Technology, Inc., and Lewis-Clark Ammunition Components, LLC (collectively, “HMT Debtors”). On August 21, 2018, the Court
entered its Order Approving Stipulation to Continue Hearing on Motion for Order Authorizing Use of any Cash Collateral of Secured Claimants
(“August 2018 Cash Collateral Order”) [Docket No. 176], authorizing the HMT Debtors’ use of cash collateral to pay to WCGH an additional
amount of $62,500 for fees and costs of WCGH for services rendered on behalf of the HMT Debtors. On September 19, 2018, the Court entered its
Order Approving Stipulation to Continue Hearing on Motion for Order Authorizing Use of any Cash Collateral of Secured Claimants (“September
2018 Cash Collateral Order”) [Docket No. 213], authorizing the HMT Debtors’ use of cash collateral to pay to WCGH an additional amount of
$62,500 for fees and costs of WCGH for services rendered on behalf of the HMT Debtors. On October 23, 2018, the Court entered its Order
Approving Stipulation to Continue Hearing on Motion for Order Authorizing Use of any Cash Collateral of Secured Claimants (“October 2018 Cash
Collateral Order”) [Docket No. 255], authorizing the HMT Debtors’ use of cash collateral to pay to WCGH an additional amount of $62,500 for fees
and costs of WCGH for services rendered on behalf of the HMT Debtors. On November 9, 2018, the Court entered its Order Approving Stipulation
to Continue Hearing on Motion for Order Authorizing Use of any Cash Collateral of Secured Claimants (“November 2018 Cash Collateral Order”)
[Docket No. 266], authorizing the HMT Debtors’ use of cash collateral to pay to WCGH an additional amount of $62,500 for fees and costs of
WCGH for services rendered on behalf of the HMT Debtors. On December 14, 2018, the Court entered its Order Approving Stipulation to Continue
Hearing on Motion for Order Authorizing Use of any Cash Collateral of Secured Claimants (“December 2018 Cash Collateral Order”) [Docket No.
307], authorizing the HMT Debtors’ use of cash collateral to pay to WCGH an additional amount of $62,500 for fees and costs of WCGH for
services rendered on behalf of the HMT Debtors. On January 22, 2019, the Court entered its Order Approving Stipulation to Continue Hearing on
Motion for Order Authorizing Use of any Cash Collateral of Secured Claimants (“January 2019 Cash Collateral Order”) [Docket No. 368],
authorizing the HMT Debtors’ use of cash collateral to pay to WCGH an additional amount of $62,500 for fees and costs of WCGH for services
rendered on behalf of the HMT Debtors (the Interim Cash Collateral Order, the August 2018 Cash Collateral Order, the September 2018 Cash
Collateral Order, the October 2018 Cash Collateral Order, the November 2018 Cash Collateral Order, the December 2018 Cash Collateral Order and
the January 2019 Cash Collateral Order are referred to, herein, collectively, as the “Cash Collateral Orders”). Pursuant to the Professional Fee
Statement of WCGH for the month of June 2018, filed on August 2, 2018 [Docket No. 121], the HMT Debtors were authorized to pay to WCGH,
and paid to WCGH, $130,000. Pursuant to the Professional Fee Statement of WCGH for the month of July 2018, filed on September 21, 2018
[Docket No. 226], the HMT Debtors were authorized to pay to WCGH, and paid to WCGH, $59,407. Pursuant to the Professional Fee Statement of
WCGH for the month of August 2018, filed on December 5, 2018 [Docket No. 284], the HMT Debtors were authorized to pay to WCGH, and paid to
WCGH, $87,820.29. The amount listed in line 9 hereof equals the lesser of (a) the amount that the HMT Debtors are authorized to pay to WCGH
pursuant to the Court’s Cash Collateral Orders for fees and costs of WCGH for services rendered on behalf of the HMT Debtors (an aggregate
amount of $517,500), less the amount already paid to WCGH ($277,227.29), a balance of $240,272.71 authorized to be paid to WCGH pursuant to
the Cash Collateral Orders, and (b) $62,624.95, which is the sum of (i) 80% of WCGH’s fees ($77,611.50), $62,089.20, and (ii) 100% of WCGH’s
costs ($535.75) incurred on behalf of the HMT Debtors for the month of November 2018 (i.e., the monthly payment percentages established pursuant
to the Order Establishing Monthly Compensation Procedures [Docket No. 128]). WCGH notes that, by WCGH’s Professional Fee Statement No. 4
(September 2018), WCGH requested payment, from the HMT Debtors, in the amount of $57,218.23 for WCGH’s fees and costs during September
2018, and that, by WCGH’s Professional Fee Statement No. 5 (October 2018), WCGH requested payment, from the HMT Debtors, in the amount of
$71,404.94 for WCGH’s fees and costs during the month of October 2018, and that, as of the date of service of this Professional Fee Statement, such
requests for payment are outstanding; pursuant to the Cash Collateral Orders, the HMT Debtors are authorized to use cash collateral to pay the fees
and costs of WCGH requested by the September 2018 and October 2018 Professional Fee Statements and this Professional Fee Statement.
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